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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )              4:98CR140-3
                                           )
              Plaintiff,                   )
                                           )
vs.                                        )
                                           )              ORDER
FRANK SHAMBURGER,                          )
                                           )
              Defendant.                   )

      IT IS ORDERED that the correspondence from Frank Shamburger dated
October 10, 2005 shall be filed in the court file and a copy of the correspondence shall
be provided to counsel of record. The government shall file its response no later than
November 1, 2005.

        October 25, 2005.                      BY THE COURT:

                                               s/ Richard G. Kopf
                                               United States District Judge
